July 3, 2022

To the Honorable Judge Waverly D. Crenshaw
Middle District of Tennessee

Dear Judge Crenshaw,

I am writing this letter for my mother Georgianna Giampietro. I am 16 years
old, I was 13 when my mom was arrested. I talk to her on the phone and we talk
about how once she comes home she will be a better mom. I hope she comes home
before I turn 18 so that I will have her as a mom while I am still a kid.

She worked a lot, or was at school studying, when I was young. I miss her
home cooked healthy food. She always made sure I had good healthy food to eat,
now I don’t have that as much and eat a lot of junk food.

My mom was the one who would drive us anywhere we needed to go, she
used to drive me to visit my friends, now I don’t have that and I miss it. I also
really miss getting to spend time with my extended family in New York. My mom
would drive us all up there in the summers and we would get to spend time in a
different city and see our aunts, uncles, and cousins. Sometimes she would take us
to the zoo. Now we can’t do those things and are mostly at home.

I will graduate from highschool in May 2024. My mom has missed my
highschool so far but I hope that she will be able to be at my graduation. That
would mean a lot to me.

I know my mom was convicted of a serious crime. She made a mistake and
we are all paying for her mistake. It has been very hard.

I hope she can come back soon.

Sincerely,

Keala Giampietro

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